     Case 2:15-cv-02294-GW-JCG Document 7 Filed 05/04/15 Page 1 of 1 Page ID #:48


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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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12   BARNARD MCGAUGHY,                   )    Case No. CV 15-2294 GW (JCG)
                                         )
13                    Petitioner,        )    JUDGMENT
                                         )
14              v.                       )
                                         )
15   E. VALENZUELA,                      )
                                         )
16                    Respondent.        )
                                         )
17

18         IT IS ADJUDGED that the above-captioned action is DISMISSED WITHOUT
19   PREJUDICE pursuant to 28 U.S.C. § 2244(b).
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22   DATED: May 4, 2015                  _______________
23                                                HON. GEORGE H. WU
                                             UNITED STATES DISTRICT JUDGE
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